                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )   CASE NO. 3:13-00065
                                               )   JUDGE SHARP
TROY DAVID LEE [4]                             )


                                          ORDER


       Pending before the Court is Defendant’s Motion to Continue (Docket No. 196) to which

the Government does not oppose.

       The motion is GRANTED and the sentencing hearing scheduled for October 31, 2014, is

hereby rescheduled for Tuesday, January 6, 2015, at 2:30 p.m.

       It is so ORDERED.



                                           KEVIN H. SHARP
                                           UNITED STATES DISTRICT




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